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                   UNITED STATES BANKRUPTCY COURT
                      DISTRICT OF MASSACHUSETTS


In re:                                           Chapter 11 Cases

TELEXFREE, LLC,                                  14-40987-MSH
TELEXFREE, INC. and                              14-40988-MSH
TELEXFREE FINANCIAL, INC.,                       14-40989-MSH

                Debtors.                         Jointly Administered
STEPHEN B. DARR AS HE IS THE
TRUSTEE OF THE CHAPTER 11 ESTATES
OF EACH OF THE DEBTORS,

                 Plaintiff,

v.

BENJAMIN ARGUETA, ALEXANDRO
ROCHA, JOSE NETO, JULIO C. PAZ,                  Adversary Proceeding
EUZEBIO SUDRE NETO, HUGO                         No. 16-04006
ALVARADO, ANA R. RAMOS, LINDA
SUZANNE HACKETT, RUDDY ABREAU,
MARCO ALMEIDA, RODRIGO
MONTEMOR, LAUREANO ARELLANO,
AARON ATAIDE, ROSANE CRUZ, OMAR
QUINONEZ, CARLOS C. DEJESUS,
BILKISH SUNESARA, ANDRES BOLIVAR
ESTEVEZ, JOSE LOPEZ, ANA ROSA
LOPEZ, FRANTZ BALAN, MARCELO
DASILVA, GLADYS ALVARADO, MARIA
TERESA MILAGRES NEVES, MARCOS
LANA, LUIZ ANTONIO DA SILVA, BRUNO
GRAZIANI, EDUARDO N. SILVA, MICHEL
CHRISTIANO SANTOLIN DE ARRUDA,
FRANCISDALVA SIQUEIRA, ALEXANDER
N. AURIO, AMILCAR LOPEZ, RENATO
SACRAMENTO, JULIO SILVA, DAVIDSON
R. TEIXEIRA, JOSE CARLOS MACIEL,
JESUS OSUNA, CHAI HOCK NG, EDILENE
STORCK NAVARRO, SORAYA FERREIRA,
EDSON F. SOUZA, VAMING SERVICES,
JORGE ANTONIO MEJIA SEQUEIRA,
RODRIGO CASTRO, DAVID REIS,
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ANA SANTOS, WESLEY DIAS, TIMEX
RESEARCH CONSULTING, INC., CELSO
ROBERTO SILVA FILHO, TEAM GLOBAL
ADVERTISING LLC, LWC MARKETING,
INC., BARTOLO CASTLLO, GASPAR
JESUS, LUISA E. LOPEZ, MARCIO SOUZA
NERY, DEBORA C. BRASIL, JOELITO
SOUZA CALDAS JUNIOR, UNITED GROUP
USA, JEAN 2004, ENTERPRISE CORP.,
RUDMAR GENTIL, NEW GENERATION
MED SUPPLY, INC., DANEUNG XIONG,
CARLOS ALFARO, LUSETTE BALAN,
TECHNOVIA, INC., FAITH SLOAN,
MARIZA S. MORINELLI, NUBIA R.
GLOULART, ROBERTO NUNEZ, GILSON
NASSAR, BINGJIAN PAN, YUE CHEN,
RODRIGO R. BREDA, PAULO GIULIANO
DIOGENES DE BESSA ROSADO, JOSE
MIGUEL FILHO, LAN LAN JI,
VENERANDO CONTRERAS, JAP
INTERNATIONAL NETWORK, LLC,
WALACE AUGUSTO DA SILVA, EZAU
SOARES FERREIRA, EDDIT ALBERTO
DUVERGE, GLOBAL MARKETING
STRATEGIES, CAROL VANTERPOOL,
DEVENDRA SHAH, PAT JACKSON,
SILVERIO REYES, FABIANA ACACIA DA
CRUZ DOS SANTOS, GERALD AGNEW,
DWAYNE JONES, JOSEPH PIETROPAOLO,
JAMILSON MARCO CONCEICAO, SONYA
CROSBY, RANDY CROSBY, WESLEY
NASCIMENTO ALVESBY, ANTONIO
OLIVEIRA, RONEIL BARRETO,
MILAGROS ADAMES, LM DAVAR, INC.,
PARROT BAY HOMES, INC., EDGAR
BORELLI, RICHARDO FABIN, DANIEL
CHAVEZ, FAUSTINO TORRES, HELIO
BARBOSA, GELALIN-3377, LLC AND A
DEFENDANT CLASS OF NET WINNERS,
                  Defendant(s).



                           AMENDED COMPLAINT


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                                             Introduction

           Stephen Darr is the duly appointed and acting trustee (the “Trustee”) of the Chapter 11

bankruptcy estates (“Estates”) of TelexFree, Inc., TelexFree, LLC and TelexFree Financial, Inc.

(collectively, the “Debtors”). As Trustee, Mr. Darr brings this adversary proceeding to recover

property fraudulently transferred by the Debtors to the Defendants and members of the

Defendant class within two (2) years of the bankruptcy filings and preferential transfers made to

the Defendants and members of the Defendant class within ninety (90) days of the bankruptcy

filings.


                                                Parties

           1.     On June 6, 2014, the Plaintiff Stephen Darr was duly appointed Trustee of the

Estates of the Debtors. The Trustee has a principal place of business in Boston, Massachusetts.

           2.     The Defendant, Benjamin Argueta, is an individual who based upon the

information provided by such Defendant resides at 14 Illinois Avenue, Apt. 1, Somerville,

Massachusetts 02145.

           3.     The Defendant, Alexandro Rocha, is an individual who based upon the

information provided by such Defendant resides at 6 Nell Road, Revere, Massachusetts 02151.

           4.     The Defendant, Jose Neto, is an individual who based upon the information

provided by such Defendant resides at 49 Rodney Street, Worcester, Massachusetts 01605.

           5.     The Defendant, Julio C. Paz, is an individual who based upon the information

provided by such Defendant resides at 179 Water Street, Framingham, Massachusetts 01701.

           6.     The Defendant, Euzebio Sudre Neto, is an individual who based upon the

information provided by such Defendant resides at 334 Chestnut Farm Way, Raynham,

Massachusetts 02767.
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         7.    The Defendant, Hugo Alvarado, is an individual who based upon the information

provided by such Defendant resides at 18 Catherine St., #1, Worcester, Massachusetts 01605.

         8.    The Defendant, Ana R. Ramos, is an individual who based upon the information

provided by such Defendant resides at 63 Fremont Ave., Apt. 2, Chelsea, Massachusetts 02150.

         9.    The Defendant, Linda Suzanne Hackett, is an individual who based upon the

information provided by such Defendant resides at 97 Bellevue Ave., Melrose, Massachusetts

02176.

         10.   The Defendant, Ruddy Abreau, is an individual who based upon the information

provided by such Defendant resides at 9 Longwood Drive, Methuen, Massachusetts 01844.

         11.   The Defendant, Marco Almeida, is an individual who based upon the information

provided by such Defendant resides at 420 Atlantic Ave., Long Branch, New Jersey 07740.

         12.   The Defendant, Rodrigo Montemor, is an individual who based upon the

information provided by such Defendant resides at 6 Boxford Street, Lawrence, Massachusetts

01843.

         13.   The Defendant, Laureano Arellano, is an individual who based upon the

information provided by such Defendant resides at 576N 800W, Provo, Utah 84601.

         14.   The Defendant, Aaron Ataide, is an individual who based upon the information

provided by such Defendant resides at 2900 W Porter Ave., Visalia, California 93291.

         15.   The Defendant, Rosane Cruz, is an individual who based upon the information

provided by such Defendant resides at 22 Northampton Street, Worcester, Massachusetts 01605.

         16.   The Defendant, Omar Quinonez, is an individual who based upon the information

provided by such Defendant resides at 3812 N. Oak Dr., Apt. M62, Tampa, Florida 33611.



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         17.   The Defendant, Carlos C. Dejesus, is an individual who based upon the

information provided by such Defendant resides at 72 Fremont Ave., Apt. 2, Chelsea,

Massachusetts 02150.

         18.   The Defendant, Bilkish Sunesara, is an individual who based upon the

information provided by such Defendant resides at 1800 Austin Parkway, Sugar Land, Texas

77479.

         19.   The Defendant, Andres Bolivar Estevez, is an individual who based upon the

information provided by such Defendant resides at 9510 90th Ave. 2, Woodhaven, New York

11421.

         20.   The Defendant, Jose Lopez, is an individual who based upon the information

provided by such Defendant resides at 164 Exchange St., 2nd Floor, Lawrence, Massachusetts

01841.

         21.   The Defendant, Ana Rosa Lopez, is an individual who based upon the information

provided by such Defendant resides at 5019 Redwing Brook Trail, Katy, Texas 77449.

         22.   The Defendant, Frantz Balan, is an individual who based upon the information

provided by such Defendant resides at 51 Grover Street, Apt. 2, Everett, Massachusetts 02149.

         23.   The Defendant, Marcelo Dasilva, is an individual who based upon the information

provided by such Defendant resides at 38 Lyme St., #308, Malden, Massachusetts 02148.

         24.   The Defendant, Gladys Alvarado, is an individual who based upon the

information provided by such Defendant resides at 177 Lincoln St., #2, Worcester,

Massachusetts 01605.




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         24-A. The Defendant, Maria Teresa Milagres Neves, is an individual who based upon

the information provided by such Defendant resides at 28 Brackett Rd., Framingham MA

01702.

         24-B. The Defendant, Marcos Lana, is an individual who based upon the information

provided by such Defendant resides at 41 Beacon St., Framingham MA 01701.

         24-C. The Defendant, Luiz Antonio da Silva, is an individual who based upon the

information provided by such Defendant resides at 25 Willis St., Framingham MA 01702.

         24-D. The Defendant, Bruno Graziani, is an individual who based upon the information

provided by such Defendant resides at 134 Highland St., Marlborough, MA 01752.

         24-E. The Defendant, Eduardo N. Silva, is an individual who based upon the

information provided by such Defendant resides at 10111 Newington Dr., Orlando, FL 32836.

         24-F. The Defendant, Michel Cristiano Santolin de Arruda, is an individual who based

upon the information provided by such Defendant resides at 26 Beacon St., Apt. 12A,

Burlington, MA 01803.

         24-G. The Defendant, Francisdalva Siqueira, is an individual who based upon the

information provided by such Defendant resides at 9715 Arbor Oak Ct., Apt. 301, Boca Raton,

FL 33428.

         24-H. The Defendant, Alexander N. Aurio, is an individual who based upon the

information provided by such Defendant resides at 15 W. Prescott Ave., Clovis, CA 93619.

         24-I.   The Defendant, Amilcar Lopez, is an individual who based upon the information

provided by such Defendant resides at 94 Broadway, Somerville, MA 02145.

         24-J.   The Defendant, Renato Sacramento, is an individual who based upon the

information provided by such Defendant resides at 5413 Vineland Road, Orlando, FL 32811.

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         24-K. The Defendant, Julio Silva, is an individual who based upon the information

provided by such Defendant resides at 111 E. Washington St., Unit 2221, Orlando, FL 32801.

         24-L. The Defendant, Davidson R. Teixeira, is an individual who based upon the

information provided by such Defendant resides at 33 Vernal St. #1, Everett, MA 02149.

         24-M. The Defendant, Jose Carlos Maciel, is an individual who based upon the

information provided by such Defendant resides at 18 Hayes St., Apt. 2, Framingham, MA

01702.

         24-N. The Defendant, Jesus Osuna, is an individual who based upon the information

provided by such Defendant resides at 700 N Avery Ave., Farmersville, CA 93223.

         24-O. The Defendant, Chai Hock Ng, is an individual who based upon the information

provided by such Defendant resides at 170 Henry St., New York, NY 10002.

         24-P. The Defendant, Edilene Storck Navarro, is an individual who based upon the

information provided by such Defendant resides at 55 Fox Rd., Unit 925, Waltham, MA 02451.

         24-Q. The Defendant, Soraya Ferreira, is an individual who based upon the information

provided by such Defendant resides at 4068 Palo Verde Dr., Boynton Beach, FL 33436.

         24-R. The Defendant, Edson F Souza, is an individual who based upon the information

provided by such Defendant resides at 1003 Acton Ave., Lehigh Acres, FL 33971.

         24-S. The Defendant, Vaming Services, is an individual who based upon the

information provided by such Defendant resides at 8228 Bedford Cove Way, Sacramento, CA

95828.

         24-T. The Defendant, Jorge Antonio Mejia Sequeira, is an individual who based upon

the information provided by such Defendant resides at 3055 Jasmine Valley Dr., Canyon

Country, CA 91387.

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         24-U. The Defendant, Rodrigo Castro, is an individual who based upon the information

provided by such Defendant resides at 11922 Golden Lodge Lane, Houston, TX 77066.

         24-V. The Defendant, David Reis, is an individual who based upon the information

provided by such Defendant resides at 800 Governors Dr., Apt. 19, Winthrop, MA 02152.

         24-W. The Defendant, Ana Santos, is an individual who based upon the information

provided by such Defendant resides at 120 Atlantic Ave., Long Branch, NJ 07740.

         24-X. The Defendant, Wesley Dias, is an individual who based upon the information

provided by such Defendant resides at 21103 Via Eden, Boca Raton, FL 33433.

         24-Y. The Defendant, Timex Research Consulting Inc., is an individual who based upon

the information provided by such Defendant resides at 10724 71st Rd., Apt. 14C, Forest Hills,

NY 11375.

         24-Z. The Defendant, Celso Roberto Silva Filho, is an individual who based upon the

information provided by such Defendant resides at 261 Whalepond Rd., Oakhurst, NJ 07105.

         24-A(1).      The Defendant, Team Global Adverting LLC., is an individual who based

upon the information provided by such Defendant resides at 13506 Paddington Circ., Austin, TX

78729.

         24-B(1).      The Defendant, LWC Marketing, Inc.., is an individual who based upon

the information provided by such Defendant resides at 57 Freeman Lane, Buena Park, CA

90621.

         24-C(1).      The Defendant, Bartolo Castllo, is an individual who based upon the

information provided by such Defendant resides at 23530 Canyon Lake Dr., Spring, TX 77373.

         24-D(1).      The Defendant, Gaspar Jesus, is an individual who based upon the

information provided by such Defendant resides at 235 Boston St., Apt 3, Lynn, MA 01904.

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         24-E(1).     The Defendant, Luisa E. Lopez, is an individual who based upon the

information provided by such Defendant resides at 168 Thorndike St. #1, Cambridge, MA

02141.

         24-F(1).     The Defendant, Marcio Souza Nery, is an individual who based upon the

information provided by such Defendant resides at 260 Potter St., New Bedford, MA 02740.

         24-G(1).     The Defendant, Debora C. Brasil, is an individual who based upon the

information provided by such Defendant resides at 2220 NE 37th St., Lighthouse Point, FL

33064.

         24-H(1).     The Defendant, Joelito Souza Caldas Junior, is an individual who based

upon the information provided by such Defendant resides at 9751 Majorca Pl., Boca Raton, FL

33434.

         24-I(1).     The Defendant, United Group USA, is an individual who based upon the

information provided by such Defendant resides at 5620 Bay Side Dr., Orlando, FL 32819.

         24-J(1).     The Defendant, Jean 2004 Enterprise Corp., is an individual who based

upon the information provided by such Defendant resides at 1310 Partridge Close, Pompano

Beach, FL 33064.

         24-K(1).     The Defendant, Rudmar Gentil, is an individual who based upon the

information provided by such Defendant resides at 425 Washington Ave., Apt. 3, Chelsea, MA

02150.

         24-L(1).     The Defendant, New Generation Med Supply Inc., is an individual who

based upon the information provided by such Defendant resides at 1037 51st ST., Apt. D7,

Brooklyn, NY 11219.



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         24-M(1).     The Defendant, Daneng Xiong, is an individual who based upon the

information provided by such Defendant resides at 280 St. Augustine Dr., Chico, CA 95928.

         24-N(1).     The Defendant, Carlos Alfaro, is an individual who based upon the

information provided by such Defendant resides at 20 Manor Place, Huntington Station, NY

11746.

         24-O(1).     The Defendant, Lusette Balan, is an individual who based upon the

information provided by such Defendant resides at 5648 Lowell St., Peabody, MA 01960.

         24-P(1).     The Defendant, Technovia Inc., is an individual who based upon the

information provided by such Defendant resides at 533 Cambridge St., Unit 310, Allston, MA

02134.

         24-Q(1).     The Defendant, Faith Sloan, is an individual who based upon the

information provided by such Defendant resides at 4809 Crystalline Pl., Apt. 102, Virginia

Beach, VA 23462.

         24-R(1).     The Defendant, Mariza S Morinelli, is an individual who based upon the

information provided by such Defendant resides at 131 S. Federal Hwy., Apt. 527, Boca Raton,

FL 33432.

         24-S(1).     The Defendant, Nubia R Goulart, is an individual who based upon the

information provided by such Defendant resides at 246 Winthrop St., Framingham, MA 01702.

         24-T(1).     The Defendant, Roberto Nunez, is an individual who based upon the

information provided by such Defendant resides at 16 Fairfield St., Worcester, MA 01602.

         24-U(1).     The Defendant, Gilson Nassar, is an individual who based upon the

information provided by such Defendant resides at 3500 W. Hillsboro Blvd., Apt. 201, Coconut

Creek, FL 33073.

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         24-V(1).    The Defendant, Bingjian Pan, is an individual who based upon the

information provided by such Defendant resides at 13708 31st Rd., Flushing, NY 11354.

         24-W(1).    The Defendant, Yue Chen, is an individual who based upon the

information provided by such Defendant resides at 1935 Potrero Grande Dr., Apt. 209, Monterey

Park, CA 91755.

         24-X(1).    The Defendant, Rodrigo R Breda, is an individual who based upon the

information provided by such Defendant resides at 14202 Grand Pre Rd., Apt. 303, Silver

Spring, MD 20906.

         24-Y(1).    The Defendant, Paulo Giuliano Diogenes de Bessa Rosado, is an

individual who based upon the information provided by such Defendant resides at 420 Atlantic

Ave., Long Branch, NJ 07740.

         24-Z(1).    The Defendant, Jose Miguel Filho, is an individual who based upon the

information provided by such Defendant resides at 27 Liberty St., Gloucester, MA 01930.

         24-A(2).    The Defendant, Lan Lan Ji, is an individual who based upon the

information provided by such Defendant resides at 1535 83rd St. #2, Brooklyn, NY 11228.

         24-B(2).    The Defendant, Venerando Contreras, is an individual who based upon the

information provided by such Defendant resides at 4650 Carey Ave. TRLR 121, Las Vegas, NV

89115.

         24-C(2).    The Defendant, Jap International Network LLC, is an individual who

based upon the information provided by such Defendant resides at 16490 Gateway Bridge Dr.,

Delray Beach, FL 33446.




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         24-D(2).    The Defendant, Walace Augusto Da Silva, is an individual who based

upon the information provided by such Defendant resides at 57 Greenwood St., Marlborough,

MA 01752.

         24-E(2).    The Defendant, Ezau Soares Ferreira, is an individual who based upon the

information provided by such Defendant resides at 27 High St., Apt. 2, East Weymouth, MA

02189.

         24-F(2).    The Defendant, Eddie Alberto Duverge, is an individual who based upon

the information provided by such Defendant resides at 90 Prospect Ave., Revere, MA 02151.

         24-G(2).    The Defendant, Global Marketing Strategies, is an individual who based

upon the information provided by such Defendant resides at 2460 E. Pole Rd., Everson, WA

98247.

         24-H(2).    The Defendant, Carlos Vanterpool, is an individual who based upon the

information provided by such Defendant resides at 255 Hidden Springs Cir., Kissimmee, FL

34743.

         24-I(2).    The Defendant, Devendra Shah, is an individual who based upon the

information provided by such Defendant resides at 5002 N. Oaks Blvd., North Brunswick, NJ

08902.

         24-J(2).    The Defendant, Pat Jackson, is an individual who based upon the

information provided by such Defendant resides at 12314 E. 55th Terr., Kansas City, MO 64133.

         24-K(2).    The Defendant, Silverio Reyes, is an individual who based upon the

information provided by such Defendant resides at 70 W. Walnut Park, Apt. 2, Roxbury, MA

02119.



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         24-L(2).     The Defendant, Fabiana Acacia Da Cruz Dos Santos, is an individual who

based upon the information provided by such Defendant resides at 7983 NW 70th Ave., Parkland,

FL 33067.

         24-M(2).     The Defendant, Gerald Agnew, is an individual who based upon the

information provided by such Defendant resides at 6406 Julie Ann Dr., Hanover, MD 21076.

         24-N(2).     The Defendant, Dwayne Jones, is an individual who based upon the

information provided by such Defendant resides at 3324 Parsons Blvd., Apt. 6P, Flushing, NY

11354.

         24-O(2).     The Defendant, Joseph Pietropaolo, is an individual who based upon the

information provided by such Defendant resides at 2300 Casey Cove, Cedar Park, TX 78613.

         24-P(2).     The Defendant, Jamilson Marcos Conceicao, is an individual who based

upon the information provided by such Defendant resides at 5451 Ginger Cove Dr., Apt. A,

Tampa, FL 33634.

         24-Q(2).     The Defendant, Sonya Crosby, is an individual who based upon the

information provided by such Defendant resides at 800 Sweetbrier Dr., Alpharetta, GA 30004.

         24-R(2).     The Defendant, Randy Crosby, is an individual who based upon the

information provided by such Defendant resides at 800 Sweetbrier Dr., Alpharetta, GA 30004.

         24-S(2).     The Defendant, Wesley Nascimento Alves sby, is an individual who based

upon the information provided by such Defendant resides at 37 Lawrence St., Everett, MA

02149.

         24-T(2).     The Defendant, Antonio Oliveira, is an individual who based upon the

information provided by such Defendant resides at 5 Juniper St., North Billerica, MA 01862.



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         24-U(2).    The Defendant, Ronei Barreto, is an individual who based upon the

information provided by such Defendant resides at 14 Branchport Ave., Long Branch, NY

07740.

         24-V(2).    The Defendant, Milagros Adames, is an individual who based upon the

information provided by such Defendant resides at 71 Swan St., Methuen, MA 01844.

         24-W(2).    The Defendant, LM Davar Inc., is an individual who based upon the

information provided by such Defendant resides at 6350 S. Elm Ln., Lake Worth, FL 33462.

         24-X(2).    The Defendant, Parrot Bay Homes, Inc., is an individual who based upon

the information provided by such Defendant resides a 6851 Cypress Cove Cir., Jupiter, FL

33458.

         24-Y(2).    The Defendant, Edgar Borelli, is an individual who based upon the

information provided by such Defendant resides at 291 Thompson St., Halifax, MA 02338.

         24-Z(2).    The Defendant, Ricardo Fabin, is an individual who based upon the

information provided by such Defendant resides at 60 Stevens Ave., Lawrence, MA 01843.

         24-A(3).    The Defendant, Daniel Chavez, is an individual who based upon the

information provided by such Defendant resides at 4149 S. Church St., Visalia, CA 93277.

         24-B(3).    The Defendant, Faustino Torres, is an individual who based upon the

information provided by such Defendant resides at 5514 Minaret Ct., Orlando, FL 32821.

         24-C(3)     The Defendant, Helio Barbosa, is an individual who based upon the

information provided by such Defendant resides at 1630 Worcester Rd., Apt. 626C,

Framingham, MA 01702.




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         24-D(3)          The Defendant, Gelalin-3377, LLC, is an individual who based upon the

information provided by such Defendant resides at 53 Walk Hill St., Apt 2, Jamaica Plain, MA

02130.

         25.    TelexFree, Inc. is a Massachusetts corporation that had its principal place of

business in Marlborough, Massachusetts. Prior to February 2012, it was known as Common

Cents Communications, Inc., which was incorporated by James Merrill (“Merrill”), Carlos

Wanzeler (“Wanzeler”) and Steven Labriola in 2002.

         26.    TelexFree, LLC is a Nevada limited liability company with its principal place of

business at the same address in Marlborough as TelexFree, Inc. It was formed by Merrill,

Wanzeler and Carlos Costa (a resident of Brazil) in July 2012, and it registered to do business in

Massachusetts in April 2013.

         27.    TelexFree Financial, Inc. is a corporation duly organized under the laws of the

State of Florida and having a principal place of business in Marlborough as the other Debtors.

         28.    On April 13, 2014, the Debtors filed for bankruptcy under Chapter 11 with the

United States Bankruptcy Court for the District of Nevada. The cases were transferred to this

Court by Order dated May 23, 2014.

                                            Jurisdiction

         29.    This adversary proceeding is brought pursuant to §§ 547, 548, 550 and 551 of

Title 11 of the United States Code for the avoidance and recovery of fraudulent conveyances and

preferential transfers.

         30.    This Court has jurisdiction over the adversary proceeding pursuant to 28 U.S.C.

§§ 157, 1334, this adversary proceeding being a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2)(A), (F), (H), and (O).

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        31.     Venue in this district is proper under 28 U.S.C. § 1409.

                                    Defendant Class Allegations

        32.     The Trustee brings this action as a defendant class action pursuant to Federal

Rules of Civil Procedure 23(a), (b)(1)(A), and (b)(1)(B) against a class (the “Net Winner Class”)

consisting of all persons or entities who, as a result of their participation in the Debtors, were

“Net Winners” (as defined below) and who reside within the United States. 1

        33.     For the purposes of inclusion in the Net Winner Class, a “Net Winner” is a person

who received more money from the Debtors (as “profit payments,” “commissions,” “bonuses” or

any other payments) and from other persons in connection with the purchase of membership

plans or VoIP Packages, than that person paid to the Debtors or to other persons in connection

with the purchase of membership plans or VoIP Package (“Net Winner Payment”) as determined

based upon an aggregation of a Participant’s User Accounts. Determination of the Net Winner

Payment shall not include unredeemed credits, as described below.

        34.     The members of the Net Winner Class are so numerous that joinder of all

members is impracticable. There are approximately 15,000 persons who are members of the Net

Winner Class. 2

        35.     There are questions of law and fact that are common to the Net Winner Class.

These questions include, but are not limited to, the following: (i) what transfers should be

included in the determination of a Net Winner; (ii) whether Net Winners should be determined

by an aggregation of Related User Accounts; (iii) whether the Net Winner Payments are

avoidable as fraudulent transfers because the Debtors had the actual intent to hinder, delay, or


1
 Claims against Net Winners who reside outside the United States will be brought in a separate action.
2
 Additionally, there are approximately 78,000 persons who are net winners and reside outside of the
United States and who will be subject to a separate action by the Trustee.
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defraud creditors; (iv) whether the Net Winner Payments are avoidable as fraudulent transfers

because the transfers were made for less than fair consideration while the Debtors were

insolvent, undercapitalized, or unable to pay debts as they became due; (v) whether the Net

Preference Payments may be recovered as preferential transfers; (vi) whether the Court’s finding

that the Debtors engaged in a Ponzi and pyramid scheme may be applied, along with any

applicable presumptions, in determining the Trustee’s claims.

          36.     The named Defendants are Net Winners in the following amounts:

          Named Defendant                 Net Winner Payment               Net Preference Payment 3

          Benjamin Argueta                $4,014,207                       $2,257,301
          Alexandro Rocha                 $3,115,717                       $1,738,331
          Jose Neto                       $2,604,994                       $ 877,963
          Julio C. Paz                    $2,401,578                       $1,182,816
          Euzebio Sudre Neto              $1,677,831                       $1,116,774
          Hugo Alvarado                   $1,343,234                       $ 414,092
          Ana R. Ramos                    $1,325,909                       $ 578,697
          Linda Suzanne Hackett           $1,208,132                       $ 185,283
          Ruddy Abreau                    $1,184,460                       $ 354,861
          Marco Almeida                   $1,082,464                       $ 665,647
          Rodrigo Montemor                $1,006,856                       $ 589,179
          Laureano Arellano               $ 859,545                        $ 435,150
          Aaron Ataide                    $ 855,234                        $ 524,036
          Rosane Cruz                     $ 819,327                        $ 468,264
          Omar Quinonez                   $ 739,057
          Carlos C. Dejesus               $ 736,061                        $   194,353
          Bilkish Sunesara                $ 633,692                        $   234,022
          Andres Bolivar Estevez          $ 609,258                        $   584,991
          Jose Lopez                      $ 564,454                        $   255,728
          Ana Rosa Lopez                  $ 523,495                        $    53,316
          Frantz Balan                    $ 516,875                        $   315,572
          Marcelo Dasilva                 $ 430,469                        $   351,356
          Gladys Alvarado                 $ 259,764




3
    Net Preference Payment is defined in paragraph 77 and is a subset of Net Winner Payment.
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    Maria Teresa Milagres Neves               $4,096,689      $186,133
    Marcos Lana                                3,159,865       1,702,573
    Luiz Antonio Da Silva                      2,707,829       1,250,373
    Bruno Graziani                             2,400,427       1,594,918
    Eduardo N Silva                            2,405,821         854,647
    Michel Cristiano Santolin De               2,106,523       1,554,364
    Arruda
    Francisdalva Siqueira                      2,034,063       1,082,321
    Alexander N. Aurio                         2,029,732         707,215
    Amilcar Lopez                              1,762,486         607,772
    Renato Sacramento                          1,731,637            (829)
    Julio Silva                                1,579,488         720,889
    Davidson R. Teixeira                       1,544,904       1,253,810
    Jose Carlos Maciel                         1,508,395       1,031,618
    Jesus Osuna                                1,398,170         431,189
    Chai Hock Ng                               1,381,440       1,425,138
    Edilene Storck Navarro                     1,299,826         523,408
    Helio Barbosa                              1,228,447       1,004,841
    Gelalin-3377, LLC                          1,268,114         457,805
    Soraya Ferreira                            1,198,070         637,195
    Edson F Souza                              1,142,732         414,091
    Vaming Services                            1,139,570         650,067
    Jorge Antonio Mejia Sequeira               1,131,657         676,922
    Rodrigo Castro                             1,087,836         403,584
    David Reis                                 1,037,716         559,150
    Ana Santos                                   985,770         460,592
    Wesley Dias                                  968,101         689,304
    Timex Research Consulting                    919,922         800,001
    Inc.
    Celso Roberto Silva Filho                   916,169         411,021
    Team Global Adverting LLC                   896,347         481,195
    LWC Marketing, Inc.                         895,452          41,661
    Bartolo Castllo                             888,879         136,772
    Gaspar Jesus                                882,936         544,583
    Luisa E. Lopez                              843,008         397,195
    Marcio Souza Nery                           829,989         450,821
    Debora C. Brasil                            821,265         571,175
    Joelito Souza Caldas Junior                 819,345         447,817
    United Group USA                            819,147           1,727
    Jean 2004 Enterprise Corp                   811,611         320,116
    Rudmar Gentil                               763,723         577,819
    New Generation Med Supply                   749,315         451,156
    Inc.
    Daneng Xiong                                748,427         401,739
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    Carlos Alfaro                             735,050           318,313
    Lusette Balan                             721,287           328,169
    Technovia Inc.                            713,262           155,122
    Faith Sloan                               710,319           138,517
    Mariza S Morinelli                        701,140           427,593
    Nubia R Goulart                           689,351           515,317
    Roberto Nunez                             685,145           392,660
    Gilson Nassar                             681,059                 -
    Bingjian Pan                              665,567           186,736
    Chen, Yue                                 646,533           129,012
    Rodrigo R Breda                           645,136           584,953
    Paulo Giuliano Diogenes De                643,139           513,808
    Bessa Rosado
    Jose Miguel Filho                         634,336           261,898
    Lan Lan Ji                                626,604           109,840
    Venerando Contreras                       621,856           241,997
    Jap International Network LLC             612,248           299,016
    Walace Augusto Da Silva                   599,048           285,200
    Ezau Soares Ferreira                      625,373           348,872
    Eddie Alberto Duverge                     589,258           406,596
    Global Marketing Strategies               584,816            85,240
    Carlos Vanterpool                         583,242            39,946
    Devendra Shah                             576,112           292,166
    Pat Jackson                               573,572           194,839
    Silverio Reyes                            572,581           194,902
    Fabiana Acacia Da Cruz Dos                590,563           439,848
    Santos
    Dwayne Jones                              561,487           131,374
    Gerald Agnew                              551,046                 -
    Joseph Pietropaolo                        548,479           135,204
    Jamilson Marcos Conceicao                 545,711           440,232
    Sonya Crosby                              541,450             3,678
    Wesley Nascimento Alves                   538,507           354,457
    Antonio Oliveira                          534,087           279,358
    Ronei Barreto                             524,096           339,001
    Milagros Adames                           520,902           187,021
    Lm Davar Inc.                             518,677           403,935
    Parrot Bay Homes, Inc.                    516,365            71,916
    Edgar Borelli                             512,609            57,841
    Ricardo Fabin                             507,693           211,976
    Daniel Chavez                             505,079           218,289
    Faustino Torres                           502,770           246,589
    Randy Crosby                              487,621           120,211




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         37.   The named individual defendants were among the largest Net Winners of the

Debtors’ scheme and should be appointed, without cost to the Estates, as representatives of the

Net Winner Class (the “Class Representatives”).

         38.   The Class Representatives will be adequate and appropriate representatives of the

Net Winner Class in the course of and by virtue of their own defense to the same claims.

Because they have substantially more (or certainly at least as much) incentive to vigorously

defend against the Trustee’s claims as any unnamed class member, these Defendants will fairly

and adequately protect and represent the interests of the unnamed members of the Net Winner

Class.

         39.   The claims against and anticipated defenses of the Class Representatives are

typical of the claims against and anticipated defenses of the unnamed members of the Net

Winner Class. Like the Class Representatives, each of the unnamed members of the Net Winner

Class participated in the Debtors’ Ponzi and pyramid scheme and received more money than they

paid during the course of their participation. The claims for return of “net winnings” against all

the Net Winners are the same and should be calculated the same way for all class members.

         40.   The nature of the defenses that may be asserted by the Class Representatives also

would be the same, as liability for repayment of the fraudulent transfers made by the Debtors to

the Net Winner Class does not depend on the personal circumstances of particular individuals

(other than in the mathematical calculation of the amount of their liability, which will be

resolved independently of the determination of liability).

         41.   Prosecuting separate actions against individual class members would create a risk

of inconsistent judgments with respect to individual class members.



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                                        Statement of Facts

       42.      The Debtors operated a massive Ponzi and pyramid scheme, which involved as

many as 1,900,000 participants (“Participants”) from multiple countries under the guise of a

“multi-level marketing” company with its headquarters in Marlborough, Massachusetts. The

Debtors represented themselves as being in the business of selling telephone service plans that

use “voice over Internet” (“VoIP”) technology. However, the sale of VoIP constituted only a

minor portion of their business; the Debtors’ actual business was the recruitment of Participants.

       43.      From April 2012 to April 2014, individuals throughout the world, including many

Participants of the Brazilian and Dominican immigrant communities in the United States,

purchased membership plans with a transaction value of approximately $3,000,000,000. The

memberships promised substantial returns – 200% per year or more – for becoming “promoters”

of the business. The Debtors promised to pay Participants for placing ads on obscure classified

ad sites on the internet and recruiting other Participants to do the same.

       44.      The basic features of the Debtors’ membership program had all the hallmarks of a

Ponzi and pyramid scheme: (1) Participants were promised unusually high returns – over 200%

per year – for doing virtually nothing except posting meaningless internet ads; (2) Participants

were promised bonuses if they recruited new Participants, who would do virtually nothing except

post ads and recruit new Participants (and so on and so on); and (3) while there were some VoIP

plans sold, Participants did not have to sell the plans in order to receive redeemable credits.

Because Participants were strongly encouraged to recruit new Participants and were not required

to sell the VoIP plans, the Debtors were using funds from later Participants to pay earlier

Participants.



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       45.     The membership fees from Participants constituted more than ninety-nine percent

(99%) of the monies taken in by the Debtors. Prior to March 9, 2014, the Debtors did not require

Participants to sell the VoIP service in order to qualify for credits which could be monetized.

       46.     The revenues from retail VoIP sales were only a tiny fraction of the money the

Debtors promised to pay to Participants. Credit card and banking transactions indicate that, from

August 2012 to March 2014, the Debtors received approximately $6,600,000 from the retail sale

of monthly VoIP contracts. During the same period, the Debtors received more than

$340,000,000 from Participants who purchased contracts. Through the sale of those one-year

contracts, the Debtors effectively promised to pay more than $5,000,000,000 to the Participants

on account of the guaranteed return for posting internet advertisements. In other words, the

revenues from retail VoIP sales covered barely 0.1% of the Debtors’ obligations to pay

Participants for placing advertisements, without taking into account obligations to pay

Participants the commissions associated with recruiting other Participants. As a result, the

Debtors paid earlier Participants not with revenues from selling the VoIP services but with

money received from later Participants.

       47.     On November 25, 2015, the Court, on motion by the Trustee and after notice and

hearing, entered an Order, as amended on December 21, 2015, finding that the Debtors were

engaged in a Ponzi scheme and that this ruling was the law of the case in each of the jointly

administered cases.

                                          User Accounts

       48.     Each time that a Participant purchased a membership plan or VoIP Package, the

Participant established an account with the Debtors (the “User Account”) that recorded the



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Participant’s transactions with the Debtors, including payments of invoices, accumulation of

credits, bonuses, and commissions, use of credits to satisfy invoices, and cash receipts.

       49.     At the time a User Account was established, the Participant was directed to

provide his/her name, address, email address, phone numbers, passcodes, and other identifying

information (the “Common Identifiers”).

       50.     A Participant could establish more than one User Account and, in practice, many

Participants had multiple User Accounts.

       51.     The User Accounts tracked credits issued to Participants for placing

advertisements, selling membership plans and VoIP Packages, and the activities of certain other

affiliated Participants. These credits could be redeemed by a Participant for cash, transferred by

a Participant to another User Account, or applied by a Participant in satisfaction of an invoice for

another User Account in exchange for cash payment from a recruited Participant.

                                      Types of Transactions

       52.     Invoices issued by the Debtors to Participants for the purchase of a membership

plan could be satisfied in one of two ways. Participants could satisfy the invoice by payment in

cash to the Debtors, or Participants could use their accumulated credits in one User Account to

satisfy an invoice for a membership plan sold to a new User Account, for themselves or for

another Participant.

       53.     In the case of a Participant satisfying his/her own invoice by payment in cash to

the Debtors, the process worked, generally, as follows:

       (i)     The Participant established an online account;

       (ii)    The Debtors’ database recorded the data entered by the new Participant and the
               identity of the recruiting Participant, and assigned an identification number to the
               new User Account;
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       (iii)   The Debtors recorded the purchase, issued a numbered invoice, and marked the
               invoice as ‘pending’;

       (iv)    A Participant could pay the invoice by cash, check, cashier’s check, wire transfer,
               or through a third-party online payment processing account. When the invoice
               was paid, the Debtors would update the invoice;

       (v)     The new Participant could then start building a pyramid underneath the newly
               created User Account by recruiting other members (or by purchasing new User
               Accounts themselves) and generating bonuses and commissions.


       54.     A Participant could monetize accumulated credits by recruiting a new Participant

using his/her accumulated credits to satisfy the invoice issued by the Debtors to the new

Participant for the purchase of a membership plan, and the new Participant paid the membership

fee to the recruiting member, rather than to the Debtors (hereinafter a “Triangular Transaction”).

       55.     In the case of a new User Account being opened with the use of accumulated

credits in another User Account, the process worked, generally, as follows:

       (i)     A Participant created his/her online account, or used their existing account
               information, to establish a new User Account;

       (ii)    The Debtors’ database recorded the details entered by the new Participant and
               assigned an identification number to the new User Account;

       (iii)   The Debtors recorded the purchase, issued an invoice to the new User Account,
               and marked the invoice as ‘pending’;

       (iv)    The new Participant forwarded the invoice to the recruiting Participant, who
               satisfied the invoice with accumulated credits in the existing User Account;

       (v)     The new Participant paid the invoice amount to the recruiting Participant (in those
               cases where there were two separate Participants involved).

       56.     The substantive result of the Triangular Transaction is that funds otherwise

payable to the Debtors from Participants for the purchase of membership plans were paid to the


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recruiting Participants, who in turn satisfied the invoice issued by the Debtors to the new

Participant by reducing the recruiting Participant’s accumulated credits.

                                            Count One

                   Declaratory Judgment for Determination of Net Winner

       57.     The Trustee realleges and repeats the allegations contained in paragraphs 1

through 56 above and by reference incorporates them herein.

       58.     Participants had multiple User Accounts, which can be identified to the

Participant by, among other means, Common Identifiers. These multiple User Accounts of a

Participant are hereinafter referred to as “Related User Accounts.”

       59.     The Trustee has determined the Net Winners by aggregating Related User

Accounts to include money paid to the Debtors, received from the Debtors, and money paid to

and received from other Participants in connection with the purchase or membership plans and

VoIP Packages.

       60.     The Trustee is entitled to a judgment declaring that a Net Winner is determined by

aggregating Related User Accounts.

                                            Count Two

        Fraudulent Transfer -- Constructive – 11 U.S.C. §§ 548(a)(1)(B), 550 and 551

       61.     The Trustee realleges and repeats the allegations contained in paragraphs 1

through 60 above and by reference incorporates them herein.

       62.     The Net Winner Payments were made within two years of the Petition Date.

       63.     Each of the Net Winner Payments constitutes a “transfer,” as that term is defined

in 11 U.S.C. § 548, of an asset or interest in an asset of the Debtors.

       64.     Each Net Winner Payment was made for less than fair consideration.

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       65.       Each Net Winner Payment was made while the Debtors were insolvent,

undercapitalized, or unable to pay their debts as they became due.

       66.       Each of the Net Winner Payments constitutes a fraudulent transfer avoidable by

the Trustee pursuant to § 548(a)(1)(B) of the Bankruptcy Code and recoverable from the

Defendants and members of the Net Winner Class pursuant to § 550(a) of the Bankruptcy Code.

       67.       As a result of the foregoing, pursuant to §§ 548(a)(1)(B), 550(a) and 551 of the

Bankruptcy Code, the Trustee is entitled to a judgment against the Defendants and each member

of the Net Winner Class: (a) avoiding and preserving the Net Winner Payments, (b) directing

that the Net Winner Payments be set aside, and (c) recovering the Net Winner Payments, or the

value thereof, from the Defendants or members of the Net Winner Class for the benefit of the

Estates.

                                            Count Three

             Fraudulent Transfer -- Actual – 11 U.S.C. §§ 548(a)(1)(A), 550, and 551

       68.       The Trustee realleges and repeats the allegations contained in paragraphs 1

through 67 above and by reference incorporates them herein.

       69.       Each of the Net Winner Payments was made on or within two years before the

commencement of these Chapter 11 cases.

       70.       Each of the Net Winner Payments constitutes a “transfer,” as that term is defined

in 11 U.S.C. § 548, of an asset or interest in an asset of the Debtors.

       71.       Each of the Net Winner Payments was made with the actual intent to hinder,

delay or defraud some or all of the Debtors’ then existing and/or future creditors.




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       72.    Each of the Net Winner Payments constitutes a fraudulent transfer avoidable by

the Trustee pursuant to 11 U.S.C. § 548(a)(1)(A) and recoverable from the Defendants pursuant

to §§ 550(a) and 551 of the Bankruptcy Code.

       73.    As a result of the foregoing, pursuant to 11 U.S.C. § 548, the Trustee is entitled to

a judgment against the Defendants and members of the Net Winner Class: (a) avoiding and

preserving the Net Winner Payments, (b) directing that the Net Winner Payments be set aside,

and (c) recovering the Net Winner Payments, or the value thereof, from the Defendants and the

members of the New Winner Class for the benefit of the Estates.

                                            Count Four

                           Preferences – 11 U.S.C. §§ 547, 550 and 551

       74.    The Trustee realleges and repeats the allegations contained in paragraphs 1

through 73 above and by reference incorporates them herein.

       75.    Certain members of the Net Winner Class received more payments from the

Debtors (whether from payments directly from the Debtors or from Triangular Transactions)

than they paid (whether from payments to the Debtors or through Triangular Transactions)

within ninety (90) days of the commencement of these cases (the “Net Preference Payment”).

       76.    To the extent a Defendant received Net Preference Payments of not less than

$6,225, such payments were made:

                     (a)       to or for the benefit of the Defendant, who claims to be a creditor

                               at the time of the transfers;

                     (b)       for or on account of an antecedent debt owed by the Debtors before

                               such transfer was made;

                     (c)       while the Debtors were insolvent;

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                      (d)     within 90 days (within one year) of the petition date; and

                      (e)     enabling the Defendant to receive more than a creditor would

                              receive if the case was one under Chapter 7, the transfer was not

                              made and the Defendant received payment of such debt to the

                              extent provided by the provisions of Title 11 of the United States

                              Code.

       77.     The Net Preference Payments, to the extent totaling at least $6,225 as to each

Defendant, may be avoided as a preferential transfer pursuant to 11 U.S.C. § 547 and recovered

from the Defendants pursuant to 11 U.S.C. § 550, and 551.

       78.     The Trustee is entitled to a judgment against the Defendants: (a) avoiding and

preserving the Net Preference Payments, (b) directing that the Net Preference Payments be set

aside, and (c) recovering the Net Preference Payments, or the value thereof, from the Defendants

and the members of the New Winner Class for the benefit of the Estates.

                                           Count Five

                                      Declaratory Judgment

       79.     The Trustee realleges and repeats the allegations contained in paragraphs 1

through 78 above and by reference incorporates them herein.

       80.     Upon a judgment that the Net Winner Payments and Net Preference Payments are

recoverable by the Trustee, the Trustee requests the Court enter an order determining the

calculation of the liability of the Defendants and each member of the Net Winner Class to the

Trustee.

       81.     The Trustee requests the Court determine that the following constitute an

appropriate procedure for determination of monetary liability:

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               a. The Trustee submits to each Defendant and each member of the Net Winner

                    Class a statement setting forth:

                    (i) A listing of all User Accounts identified to each Defendant or member of

                        the Net Winner Class as a Related User Account,

                    (ii) A summary of the transactions within each Related User Account,

                    (iii) The net amount due based upon an aggregation of the Related User

                        Accounts;

               b. Each Defendant and member of the Net Winner Class shall respond within

                    forty-five (45) days if he/she disagrees with the Trustee’s statement of the Net

                    Winner Payment or Net Preference Payments, and if so, provide a detailed

                    statement of the basis of the disagreement;

       82.     If no timely objection is submitted, the Court shall enter judgment for the amount

of the statement.

       83.     If a timely objection is filed, the amount of the judgment shall be determined by

the Court.

                                             Count Six

                      Disallowance of Claims Pursuant to 11 U.S.C. §502(d)

       84.     The Trustee realleges and repeats the allegations contained in paragraphs 1

through 83 above and by reference incorporates them herein.

       85.     Pursuant to 11 U.S.C. §502(d), the Court shall disallow any claim of a Net

Winner from whom property is recoverable under Section 550 of the Bankruptcy Code, or that is

a transferee of a transfer avoidable under Sections 547 or 548 of the Bankruptcy Code, unless



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such Net Winner has paid the amount or turned over any such property for which the Net Winner

is liable under Section 550.

       86.     To the extent the a Net Winner fails to pay to the Trustee a Net Winner Payment

or Net Preference Payment, any claims of such Net Winner in these bankruptcy cases shall be

disallowed without further order of Court.

       WHEREFORE, Stephen Darr as he is the Trustee of the Chapter 11 Estates of

TelexFree, Inc., TelexFree, LLC and TelexFree Financial, Inc. respectfully prays that the Court

enter judgment for him against the Defendants and the members of the New Winner Class as

follows:

       1.      On Count One, enter a declaratory judgment in favor of the Trustee that a Net

Winner is to be determined in accordance with the methodology set forth in paragraphs 58

through 60.

       2.      On Count Two, pursuant to 11 U.S.C. §§ 548(a)(1)(B), 550(a) and 551 of the

Bankruptcy Code: (a) avoiding and preserving the Net Winner Payments, (b) directing the Net

Winner Payments be set aside and (c) recovering the Net Winner Payments from the Defendants

and each member of the Net Winner Class for the benefit of the Estates.

       3.      On Count Three, pursuant to 11 U.S.C. §§ 548(a)(1)(A), 550(a) and 551 of the

Bankruptcy Code: (a) avoiding and preserving Net Winner Payments, (b) directing the Net

Winner Payments be set aside and (c) recovering the Net Winner Payments from the Defendants

and each member of the Net Winner Class for the benefit of the Estates.

       4.      On Count Four, pursuant to 11 U.S.C. § 547, (a) avoiding Net Preference

Payments received by each Defendant and each member of the Net Winner Class as preferential



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payments, to the extent such payments total at least $6,225, and (b) recovering such payments for

the benefit of the Estates.

       5.      On Count Five, enacting a procedure by which the amount each Defendant and

each member of the Net Winner Class owes to the Trustee is determined and upon which a

monetary judgment will be entered for the Trustee.

       6.      On Count Six, disallowing the claims of any Net Winner who does not pay to the

Trustee a Net Winner Payment or Net Preference Payment, in accordance with 11 U.S.C.

§502(d).

       7.      And for such other and further relief as this Court deems just and proper.



                                                     STEPHEN DARR AS HE IS THE
                                                     TRUSTEE OF THE CHAPTER 11
                                                     ESTATES OF EACH OF THE
                                                     TELEXFREE DEBTORS

                                                     By his attorneys,


                                                      /s/ Charles R. Bennett, Jr.
                                                     Charles R. Bennett, Jr. (BBO #037380)
                                                     Harold B. Murphy (BBO #326610
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Dated: April 14, 2016
701489




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